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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

ASA

 

Plaintiff(s), CALENDAR NOTICE
[Ap LL CK
Vv. / 4 Li os OB)

Derek Adore;
Defendant(s).

 

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PLEASE TAKE NOTICE that the above-captioned case has been scheduled/
re-scheduled for: ae

____ Status conference ___ Final pretrial conference .
telephone conference ____ Jury selection and trial
____ Pre-motion conference ____ Bench trial

____ Settlement conference ____ Suppression hearing

____ Oral argument ____ Plea hearing

___ Bench ruling on motion ____ Sentencing

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All parties are directed to call 1-888-363-4749, Access Code 1703567, orf 11-23-20 at 3:00 pm. )

All requests for adjournments or extensions of time mus
filed on ECF as letter-motions, in accordance with paragraph 1(F) of the Court's
Individual Practices. Absent special circumstances, such requests shall be made at
least two business days prior to the scheduled appearance.

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Dated: | O -Z4- 20 2d
White Plains, NY

SO ORDE

 

Vincent L. Briccetti
United States District Judge
